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WESTERN DISTRICT oF TENNESSEE “f'fff .. "

 

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) `./
v. ) Case No. 99-]267 Bre/P
)
CoRRECTIoNs CoRPoRATIoN 0F )
AMERICA, et al., )
)
Defendants )

 

AGREED ORDER OF DISMISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, With full prejudice, the
Court therefore finds that this cause should be dismissed, With full prejudice and,
accordingly:

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Corrections
Corporation of America, Doctor Crants, Prison Realty Trust, Inc., Correctional
Management Services Corporation, Prison Realty Management, Inc., and Prison
Management Services, Inc., With prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, AD.IUDGED AND DECREED that costs of this cause,
including filing fees, will be paid by Plaintiff and no discretionary costs, bill of cost,
expenses or any attorney fees, either by statute or contract, Wi]f be applied for or awarded by

either party.

This document entered on the docket sheet in compliance
with Ru|e 58 and,'or,?g {a) FHCP on - QS` w

Case 1:99-cV-01267-.]DB-tmp Document 92 Filed 07/01/05 Page 2 of 5 Page|D 106

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Dated: this _L day GFS"QH

` J. DANIEL BREEN\
UNI ED sTATEs DIsTRiCT JUDGE

, 2005.

 

APPROVED FOR ENTRY:

` HB’A. RITCHIE, II“

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Case 1:99-cV-01267-.]DB-tmp Document 92 Filed 07/01/05 Page 3 of 5 Page|D 107

CERTIFICATE OF SERVICE

l certify that a copy ofthe foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901~1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, SC 29201 on JuneZB_, 2005.

PENTECOST, GLENN & RUDD, PLLC

%m~ @>aé/z

J ames I. Pentecost (#011640)
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Attorneys for Defendants

 

 

F'TNi\iESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 92 in
case 1:99-CV-01267 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

